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     SO. CAL. EQUAL ACCESS GROUP
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 6   MISTER BAILEY
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10   MISTER BAILEY,                                    Case No.: 2:24-cv-01177-HDV (MAAx)
11
                  Plaintiff,                           NOTICE OF VOLUNTARY
12                                                     DISMISSAL OF ENTIRE ACTION
           vs.                                         WITH PREJUDICE
13
14   JAGUAR METAPAN LLC D/B/A
     RESTAURANTE JAGUAR METAPAN;
15   JULIO E. VILLEDA, AS TRUSTEE OF
16   THE VILLEDA LIVING TRUST; and
     DOES 1 to 10,
17
                  Defendants.
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           PLEASE TAKE NOTICE that Plaintiff MISTER BAILEY (“Plaintiff”) pursuant
21
     to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
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     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
23
     provides in relevant part:
24
           (a) Voluntary Dismissal.
25
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                         and any applicable federal statute, the plaintiff may dismiss an action
27
                         without a court order by filing:
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                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: August 28, 2024                SO. CAL. EQUAL ACCESS GROUP
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10                                         By:      /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
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                                                  Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
